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 6
 7                            UNITED STATES DISTRICT COURT
 8                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                                    WESTERN DIVISION
10
11   UNITED STATES OF AMERICA                )     Case No.: CR 07-1048-VBF
                                             )
12                    Plaintiff,             )     Order for Pre-Plea PSR Report Limited to
                                             )     Criminal History Score and Determination
13          v.                               )     of Defendant Lashawn Andrea Lynch
                                             )
14                                           )
     LASHAWN ANDREA LYNCH                    )
15                                           )
                      Defendant.             )
16                                           )
                                             )
17
18         GOOD CAUSE APPEARING,
19         IT IS HERBY ORDERED THAT the Probation Department shall prepare a pre-
20   plea PSR for defendant LASHAWN ANDREA LYNCH for the purpose for providing the
21   Court and the parties with an analysis of defendant’s Criminal History status under the
22   United States Sentencing Guidelines. IT IS FURTHER ORDERED THAT the pre-plea
23   PSR shall be made available to the court and the parties no late than December 12, 2008.
24
25   Dated: November 12, 2008
26                                               HON. VALERIE BAKER FAIRBANK
                                                 UNITED STATES DISTRICT JUDGE
27
     cc: US Probation
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